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                      IN THE UNITED STATES DISTRICT COURT                                  SEP I 3 2018
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division                                      CLERK, U.S. DISTRICT COURl
                                                                                            RlCHl\1C\lD VA




UNITED STATES OF AMERICA

v.                                                 Criminal No. 3:16-cr-139

RICHARD TODD HAAS,

       Defendant.


                                   MEMORANDUM OPINION

       This    matter       is    before     the       Court       on    the     UNITED     STATES'

NOTICE OF      INTENT AND MOTION TO                    INTRODUCE OTHER ACTS                EVIDENCE

PURSUANT      TO    FED.    R.    EVID.     414    AND       404 (b}      (ECF    No.     81}.    The

Government     seeks       to admit evidence of                    the Defendant's alleged

sexual abuse of a minor in its case against the Defendant for

attempted      sex       trafficking        of     a    minor       and     for       receipt     and

possession of         child pornography.               It conceded at oral                 argument

that    it    would        not    use      this    other          acts    evidence         to    show

propensity,        but     only    to     show    intent,         motive,      and,     knowledge.

Notwithstanding            this    concession,           for       the    reasons        discussed

below, the motion was denied.

                                           BACKGROUND

       On November 1,             2016,    Richard Todd Haas was                  charged in a

five-count         Indictment       with    various          sex    trafficking         and      child

pornography off ens es.            ECF No.        1.    By    a    Superseding         Indictment,
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filed on December 19, 2017                      (ECF No.         78), Haas was charged with

four counts: Count One alleged the attempted sex trafficking of

a     child     known         to     be   less        than           14        years    old,     under   18

U.S.C.    §§    1591(a) (1)         and 1594 (a),              id.    at 1;          Count Two alleged

the      knowing         receipt          of       child              pornography,              under    18

U.S.C.    §    2252A(a} (2) {A},          id.    at       2;     and Counts             Three and Four

both     alleged        the        knowing      possession                of    materials       containing

child pornography, under 18                  u.s.c.        § 2252A(a} {5) {B},              id. at 2-3.

       The charges in the Superseding Indictment relate to events

that took place between May and September 2016.                                            On or around

June 16,        2016,    a     confidential witness                       ("CW"}       who had provided

escort services to Haas for several years notified the FBI of

recent conversations with Haas in which he had expressed sexual

interest in children.                  ECF No.        81.       According to CW,                 Haas said

that a 12-year-old had performed a                               sex act on him four years

earlier.        Id.     In     addition,         Haas,         using           his     laptop    computer,

allegedly        showed       CW numerous          images            of        children,       between the

ages of 5 and 12, engaged in sexually explicit conduct. Id. Haas

then expressed interest in having CW help him find a child to

use in producing child pornography photos. Haas continued to do

so when CW led him to believe that her friend could help find an

8- or 12-year-old girl for that purpose. Id. Shortly thereafter,

FBI    agents     obtained search warrants                            for Haas' s          residence     and

                                                      2
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multiple       vehicles,     and     seized         a    laptop       with    numerous    child

pornography files during one search. Id. Broadly speaking, Count

One pertains to Haas's efforts to obtain the services of a young

girl    for child pornography production,                        and Counts Two through

Four concern the receipt and possession of child pornography on

Haas's laptop and another storage device.

        The Government           seeks   to    introduce testimony               ( "other acts

evidence")      relating to Haas' s alleged sexual molestation of an

11-year-old girl           {"E.J.")      on at          least    five      occasions between

September 2015 and June 2016. ECF No.                          81.     In particular,       E.J.

will testify that she met Haas while she and her parents were

panhandling for money,              and Haas persuaded her parents to let

E.J. do paid housework at his residence. Id. When Haas took her

home, he would often pull her pants down and touch her "private

parts . " Id. On several occasions, Haas made direct contact with

her    genitalia,     either with             his       hand    or by using       a     vibrator

(which was seized from Haas's personal vehicle during one of the

FBI's    searches).        Id.     The   Government            will     offer   DNA     evidence

showing that E. J. ' s           DNA was located on the vibrator that was

seized from Haas's car. ECF No. 135.                           Interactions between Haas

and     E.J.     ended     when      E. J.      complained            to     Richmond     Police

Department investigators about Haas's actions.




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        The Government            filed    a    motion         seeking        to   introduce         this

other acts evidence of sexual abuse of E.J. pursuant to Fed. R.

Evid.    414        and   404 (b).      ECF No.          81.   After hearing argument on

August        16,    2018,      the     Court    ordered          an     additional          round     of

briefing        on       the    issue    of     admissibility.             ECF       No.    132.      The

positions           of    the   parties,        as       modified        by    the        supplemental

briefing and oral argument held on September 12,                                     2018, are set

forth herein.

                                           DISCUSSION

        The     Government        asks    the        Court     to      admit       the     other   acts

evidence       of Haas' s        alleged past             abuse     of    E. J.     under     Fed.     R.

Evid.    414, 1 or in the alternative, under Fed. R.                                 Evid. 404 (b).

The initial framework governing the admissibility of evidence is

familiar:       "relevant evidence is admissible unless prohibited by"

inter alia the             Federal Rules of Evidence.                     Fed.       R.    Evid.     402.

Evidence is relevant if "{1} it has any tendency to make a fact

more or less probable than it would be without the evidence; and

(b}    the fact is of consequence in determining the action." Id.

401.    Though relevant and probative,                         "[e] vidence of a              person's


1
  The Government's initial motion and briefing on this issue (ECF
No. 81} focused on both Rules 414 and 404{b}. Subsequently, the
Government appears to have moved away from its reliance on Rule
414, and focuses almost exclusively on Rule 404{b}. ECF No. 135;
ECF No. 138. In its supplemental briefing and at oral argument,
the Government argued that Rule 414 is a lower standard of
admissibility and that is why it focused more on Rule 404(b).
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character . . . is not admissible to prove that on a particular

occasion the person acted in accordance with the character or

trait." Id. 404 (a). Finally, Rule 403 allows a court to \'exclude

relevant     evidence   if     its     probative        value     is    substantially

outweighed by a      danger of.            . unfair prejudice,         confusing the

issues,    misleading    the    jury,      undue       delay,     wasting    time,     or

needlessly presenting cumulative evidence."                     Fed.   R.   Evid.    403.

As discussed below,         Rules    414    and 404 {b)        modify this general

framework to some extent.            However,        as explained below,       neither

rule permits admission of this proffered other acts evidence in

this case.

I.   Fed. R. Evid. 414

          A. Legal Standard

     Rule    414   allows    courts,       in   cases     where    "a defendant        is

accused    of   child   molestation,"           to    "admit    evidence     that     the

defendant committed any other child molestation." Fed. R.                           Evid.

414(a) . 2 Thus, for the other acts evidence to be admissible as to

a particular charged offense, both the evidence and the charged




2
  "Child molestation" is defined as any crime under federal or
state law involving, inter alia, conduct prohibited by 18 U.S.C.
chapter 109A and committed with a child, conduct prohibited by
18 U.S.C. chapter 110, or contact between any part of the
defendant's body {or an object) and a child's genitals or anus.
Fed. R. Evid. 414{d) {2). A "child" is defined as "a person below
the age of 14." Id. 414 {d) {l).
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offense       must     involve    ''child molestation, 11           as   defined      in   the

Rule. See Fed. R. Evid. 414(d) (2).

        The   "other acts evidence"             in this case clearly counts as

"child molestation" under Rule 414 because it alleges that Haas

touched E. J. 's genitals,             both with his body and an object. The

conduct alleged in Count One, which is a violation of 18 U.S.C.

§ 1591, is located in 18               u.s.c.   chapter 77. It is not covered by

any of Rule 414 (d) (2) 's provisions.                    Thus,   it is not an act of

"child    molestation"           for    purposes     of     Rule    414.       Counts      Two

through Four also involve "child molestation,                       11
                                                                         because Haas has

been charged with violating 18 U.S.C.                      § 2252A, which is located

in 18 U.S.C. chapter 110.

        Evidence admitted under Rule 414 "may be considered on any

matter to which it is relevant."                    Id.    414 (a) . Rule 414 modi£ ies

the general prohibition on the use of character evidence.                                  See

Fed. R. Evid. 404(a); see also United States v. Kelly,                             510 F.3d

433, 436-37 (4th Cir. 2007). That is so because "Rule 414 allows

the     admission       of    evidence      for     the     purpose      of   establishing

propensity to commit other sexual offenses, 11 Kelly,                          510 F. 3d at

43 7,   and evidence of           that sort is not usually admissible.                      At

oral argument,          the Government represented that it would not use

this    other        acts    evidence    for    propensity         purposes,    but     would

instead rely on it to show intent, motive, and knowledge.

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       The Fourth Circuit has made clear that                          "evidence admitted

under Rule 414 is subject to Rule 403' s balancing test." Kelly,

510    F. 3d at   43 7.    Thus,          courts may still            exclude    other child

molestation evidence if               "' its probative value is substantially

outweighed by the danger of unfair prejudice' to the defendant."

Id.    (quoting    Fed.        R.    Evid.      403}.    When   applying        Rule     403    to

evidence       sought     to    be        admitted      under   Rule     414,     the    Fourth

Circuit    has    identified a             non-exhaustive       list      of    five    factors

that inform the decision. Kelly,                     510 F.3d at 437. These factors

are:    "(i}    the similarity between the previous offense and the

charged    crime,       (ii}        the     temporal     proximity       between        the    two

crimes,    (iii} the frequency of the prior acts,                        (iv} the presence

or absence of any intervening acts,                       and   (v}    the reliability of

the evidence of the past offense." Id.


          B. Analysis

       Because    the     conduct          in   Counts    Two   through         Four    and    the

other acts evidence falls within the ambit of Fed. R. Evid. 414,

the analysis is governed by the test set out in Kelly. 510 F.3d

at 437. 3 For the reasons explained below, the offered other acts

evidence fails that test.


3
  As explained previously, Count One's conduct does not fall
within "child molestation" as defined in Rule 414. After
initially arguing that Count One did fall within Rule 414, ECF
No. 81, the Government has not pressed this point either in
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        To begin, there must be a similarity between the other acts

and the charged conduct. Haas is charged in Counts Two through

Four with receipt and possession of child pornography. The other

acts evidence consists of acts of alleged child molestation. In

weighing        similarity        in     this    context,     the     Court     is    guided by

Kelly.     There,        the     Fourth     Circuit       upheld      the   admission         of   a

previous conviction for attempted rape of a 12-year-old child in

a   prosecution          for     "traveling       in     interstate     commerce        for    the

purpose of engaging in illicit sexual conduct with a                                   12-year-

old."     510    F. 3d at        437.     The    similarities         between    the    charged

crime and the past acts were "striking" given the identical ages

of the victim and the type of conduct. Id.

        Further,         in     Kelly,     the     prior      act     was     evinced     by       a

conviction for attempted rape, not merely an allegation, and the

Court held that the prejudice to the defendant was minimized by

the     fact    that      the    Government           "present [ed]    only     the    official

conviction         record"         rather        than       "elicit [ing]        inflammatory

testimony."       Id.     at 438.         See also United States v.                  Haney,    693

Fed. Appx.        213,    214     (4th Cir.       2017)     (per curium)        (unpublished)

(permitting introduction of a past conviction of taking indecent

liberties with a child in a prosecution for child pornography).



subsequent briefings or at oral argument.     Therefore, the
analysis proceeds under the assumption that Count One is not
covered by Rule 414.
                                                  8
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        In United States v.            Rice,       347   Fed.    Appx.     904    (4th Cir.

2009),    the Fourth Circuit addressed a                   factual scenario similar

to that presented in this                case.        Rice was         charged with,       and

convicted of,         possession of          child pornography under the                  same

statute       as    Haas     faces.    Id.     at    905.       Over     the     defendant's

objection,         the District       Court permitted testimony from Rice's

minor    nephew       that    Rice    had    molested       him,       showed     him    child

pornography, and taken sexually explicit pictures of him. Id. In

affirming the District court's decision to admit this testimony,

the     Fourth       Circuit     noted       that        "though       there     were     some

differences         between      previous      molestation         activity        and     the

current charges of child pornography," the fact that Rice showed

his nephew child pornography and took pictures of his nephew was

sufficient to meet the similarity test of Kelly. Id. at 906.

        The   facts    here are different than in the cases                        in which

evidence of other acts evidence has been admitted under Fed. R.

Evid. 414. First, Haas has not been convicted of the past child

abuse.    This fact distinguishes this case from Kelly and Haney,

both of which involved a prior conviction. As the Court in Kelly

warned, testimony of prior abuse could be "inflammatory" and the

introduction         of    the    "official         conviction         record"     was    more

appropriate. 510 F.3d at 438. The Government does not have that

option here-rather, the Government's evidence of the Defendant's

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past acts will come through E. J. 's testimony.                          This presents a

substantial        likelihood          of    being      "inflammatory."          Id.     second,

unlike      in Rice,       Haas    has       not    been    accused   of    showing        child

pornography        to    E. J.    or    of    taking       photographs      of    her.     These

factors were important to the Rice court in finding similarities

between the accusation of molestation and the charges of child

pornography.       For these reasons,               the Court finds that the prior

acts of alleged sexual abuse of E.J. and the charged crimes do

not satisfy the similarity facet of the Kelly test.

      It, of course, is necessary to also examine the other Kelly

factors.     First,      the temporal proximity between the past conduct

and the charged crimes                 is close,        and potentially overlapping.

ECF   No.    81.    In     any    event,       Kelly       itself   found    the       temporal

proximity prong satisfied when there was a 22-year gap between

the prior conviction and the charged crimes.                          510 F. 3d at 437.

Thus, it appears this factor is met.

      Factor three requires an examination of the frequency of

the past acts. E.J. alleges that the Defendant abused her on at

least five occasions between September 2015 and June 2016.                                   ECF

No. 81. That testimony satisfies the frequency factor in Kelly.




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       Factor four requires an assessment of whether there were

intervening acts. 4 The parties have not raised any intervening

acts. Accordingly, this factor is neutral in the analysis.

       Lastly,     the evidence of the past offense must be reliable.

The    Government     has    provided     evidence       of     E.J.'s    DNA   on    the

vibrator found in Haas's possession. ECF No. 135. Haas does not

question     the     reliability     of        this    evidence.     ECF    No.      137.

Accordingly, the reliability facet of Kelly is likely met.

       Kelly's     factors    are   non-exhaustive,           and   the    Court     may

consider other factors in weighing the risk of unfair prejudice

to    the   Defendant.      510   F.3d    at    437.    Thus,     courts   may     still

exclude other child molestation evidence if, on the whole, "'its

probative value       is     substantially outweighed by the                danger of

unfair prejudice'        to the defendant." Id.           (quoting Fed. R. Evid.

403). In this case,          factor one of Kelly and the risk of unfair

prejudice to Haas          lead to the conclusion that the other acts

evidence in this case is inadmissible under Fed. R. Evid. 414.




4
   The Court has examined the case law cited by Kelly in
establishing the factor test, and has found no clear definition
on what this factor means. See United States v. Hawpetoss, 478
F.3d 820 {7th Cir. 2007); United States v. LeMay, 260 F.3d 1018
(9th Cir. 2001). At oral argument, the Government suggested that
"intervening acts" could include an arrest, death, or other
interruption in the conduct. The Court need not resolve this
dispute now, because it has no bearing on the analysis in this
case.
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        The Fourth Circuit has made clear that "unfair prejudice"

requires "a genuine risk that the emotions of the jury will be

excited         to     irrational           behavior,     and      that        this     risk      is

disproportionate              to      the     probative        value      of     the      offered

evidence." United States v. Ham,                       998 F.3d 1247,          1252     (4th Cir.

1993)     (citation omitted);               see also United States v.                 Queen,     132

F.3d     991,        994     (4th    Cir.     1997)     (quoting       Fed.     R.     Evid.     403

advisory        committee's          note) ( "Prejudice        refers     to    evidence        that

has an 'undue tendency to suggest decision on an improper basis,

commonly,        though not necessarily,                an emotional one. '") .                Also,

the     Court    of        Appeals    has     upheld    the     admission       of     past     acts

evidence as non-prejudicial where the past acts did "not involve

conduct any more sensational or disturbing than the                                     [charged]

crimes." United States v. Boyd, 53 F.3d 631,637 (4th Cir. 1995).

        In this case,              the proffered other acts evidence would be

unfairly prejudicial                 to Haas without providing much probative

value on the child pornography counts. The evidence of repeated

sexual abuse of a               poor minor who was              in Haas' s       home    to make

money by cleaning               the    house    is     highly    likely to           inflame     the

jury's     emotions.           After        hearing     this     evidence,           particularly

testimony from E.J., the jury likely would give undue weight to

the     other        acts    because    they     are    so     egregious       and     offensive.

And,    the other acts are considerably more disturbing than the

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charged       offenses          because      the    other       acts    involve    the    actual

physical molestation of the minor on five                                separate occasions.

Further, the probative value of this evidence is slight compared

to    the prejudice             to Haas because           the other acts           evidence      is

really        just        probative     of     propensity         for    which    purpose       the

evidence will not be offered.                       And contrary to the Government's

argument,       the acts of sexual abuse are not really probative of

Haas's motive,              intent or knowledge.            Thus,        notwithstanding the

Government's          assurance         that   it will not use               this evidence       to

argue that Haas had a propensity to commit sex crimes involving

children, there is no question that the other acts evidence will

cast     Haas        as     a   bad    person       who    should       be    punished,     while

providing        minimal         probative         value        in     proving    receipt       and

possession of child pornography.

        For     the        foregoing        reasons,      the    Government's          motion    to

introduce other acts evidence under Rule 414 was denied.

II.     Fed. R. Evid. 404(b)

          A. Legal Standard

        Alternatively,           the Government relies on Rule 404(b) as the

basis    for     admitting            the   other    acts       evidence. 5       As    discussed

above,    even relevant evidence "of a crime, wrong,                              or other act


5
  As noted in note 1, supra, the Government argues that Rule
404{b) is the stricter standard for admission, and thus focused
its supplemental briefing on that Rule.
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is not admissible to prove a person's character in order to show

that   on a     particular occasion the person acted in accordance

with the character." Fed. R. Evid. 404{b} {1}. That evidence may,

however,       "be   admissible     for     another purpose,          such as   proving

motive,      opportunity,         intent,        preparation,        plan,   knowledge,

identity,       absence     of    mistake,        or   lack     of     accident."     Id.

404 {b} {2}.    The Fourth Circuit has characterized this provision

as a "rule of inclusion," and has emphasized that the list above

"is not exhaustive." United States v. Queen, 132 F. 3d 991,                          994-

95   {4th Cir.       1997}; see also United States v.                 Penniegraft,    641

F. 3d 566,     574    {4th Cir.    2011}     {"Rule 404 {b}      is an inclusionary

rule, allowing evidence of other crimes or acts to be admitted,

except that which tends to prove only criminal disposition."}.

       The Fourth Circuit has established a multi-factor test to

determine      the admissibility of other acts                  evidence under Rule

404 {b}.   Queen,     132   F. 3d at      997.    To be admissible under Rules

404{b}, evidence must meet the following criteria:

               "{1} The evidence must be relevant to an
               issue, such as an element of an offense, and
               must not be offered to establish the general
               character of the defendant. In this regard,
               the more similar the prior act is {in terms
               of physical similarity or mental state} to
               the act being proved, the more relevant it
               becomes. {2} The act must be necessary in
               the sense that it is probative of an
               essential   claim or   an  element   of  the
               offense. {3} The evidence must be reliable.
               And (4) the evidence's probative value must
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             not be substantially outweighed by confusion
             or unfair prejudice in the sense that it
             tends to subordinate reason to emotion in
             the factfinding process."

Queen, 132 F.3d at 997                 {emphasis added). Unlike the Kelly test,

the Fourth Circuit requires that,                     to admit other acts evidence

under     Rule     404 {b),      the    evidence    must      meet   all     of     the    Queen

factors.     Id.     In performing this             assessment,        courts       should be

mindful of the "dangers that Rule 404{b) was intended to avoid."

Id. at 995. The three principal dangers are:                          {1) convicting the

defendant        "simply      for      possessing     bad   character";           {2)    "trying

defendants for prior acts rather than charged acts" and juries

"using the acts improperly in arriving at a verdict";                                   and   {3)

protecting the defendant from "trial by ambush." Id. at 996.

          B. Analysis

        The Government argues that the other acts evidence should

be admitted for three Rule 404 (b)                    reasons:       {1)   to show Haas's

intent for the attempted sex trafficking charge of Count One;

{2)   to show Haas's motive for the attempted sex trafficking in

Count     One      and     for      the     receipt     and     possession          of     child

pornography charges in Counts Two through Four; and (3)                                  to show

Haas's knowledge and absence of mistake on the child pornography

charges of Counts Two through Four.                     ECF No.       135.    Because Rule

404 {b)    already         prohibits        using      other     acts        evidence         for

propensity purposes,              the     Government's      concession that             it will
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not   use   the    other       acts    evidence         to    show    propensity     has      no

bearing on this analysis.

      The   analysis         begins    with       the     Queen    factors.      First,      the

other acts evidence must be \\relevant to an issue,                              such as an

element of an offense.                      . the more similar the prior act is

(in terms of physical similarity or mental state)                               to the act

being proved,       the more relevant               it becomes."         Queen,    132 F. 3d

991, 997. Queen itself is instructive of what the Fourth Circuit

envisions for the relevance prong. There, Queen was charged with

witness tampering, and in its prosecution, the Government sought

to introduce prior acts of witness tampering. Id. at 992-93. To

no surprise,       the Fourth Circuit held that these past acts of

witness     tampering        were     admissible        under     Rule    404(b)    to     show

Queen's intent to commit the charged witness tampering.                                Id.    at

997. After all, it is virtually the same conduct.

      Other cases further illustrate this point. United States v.

Whorley,     a    case       relied    on    by     the      Government,       involved      the

introduction of          a    prior    child pornography charge                 in a      child

pornography case. 550 F.3d 326, 337-38 (4th Cir. 2008). While it

did not explicitly analyze each of the Queen factors, the Fourth

Circuit did uphold the admission of                          this other acts evidence

under     Rule    404(b)because         it    was       \\probative      on.       .disputed

elements    of    the    offenses."         Id.    at     338.    But,   once again,         the

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charged crime and              the past conduct were virtually identical.

Likewise,      United States v.           Sebolt involved the charged conduct

of advertising child pornography in violation of 18 U.S. C.                                      §


225l(d). 554 Fed. Appx. 200, 201 (4th Cir. 2014)                              (unpublished).

The Fourth Circuit upheld the Government's use of Rule 404 (b)

other acts evidence consisting of "five letters sent to or from

Sebolt       while      in    prison"    either       requesting           books     containing

pictures of children, discussing his desire to receive pictures

of children, or containing actual nude photos of minors. Id. at

202-203. The other acts evidence in Sebolt was very similar to

the charged conduct, and thus was relevant under the first prong

of the Queen test.

        In    its     supplemental        reply       brief        (ECF     No.      138),     the

Government          focuses     exclusively          on    a      recent     Fourth     Circuit

decision dealing with Rule 404 (b),                       United States v.            Bell,    No.

16-4343,      2018 WL 4087893            (4th Cir.         Aug.    28,     2018).    But,     Bell

does not support admission of the other acts evidence in this

case.      Bell     was      convicted    of   drug       possession        with     intent     to

distribute and possessing a f irearrn in furtherance of a drug-

trafficking          crime.      Id.     at    *2.        Among     other     things,         Bell

challenged        the     admission      of    other acts          evidence         (under    Rule

404 (b))     of an unrelated arrest in Washington,                          D.C.     (the "D.C.

Arrest"), where a gun was found in his vehicle, drugs were found

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on his person, and he admitted during the police interview that

he was     in the       city to       "buy      'two guns and some coke' .                         . in

particular,       he was expecting to buy 'two Rugers. '"                             Id. Because

the charged firearm offense involved the use of a                                      Ruger,      the

Court of Appeals            found     the other acts evidence from the D. C.

Arrest "necessary and relevant." Id.                            at *6.     Further,       the drugs

found on Bell's person at the time of the D.C. Arrest were the

"same narcotics,           and the       same baggies"              that     were seized from

Bell's     home      and      used      in    the        prosecution         for      the      charged

off ens es.    Id.     Bell    demonstrates             the     kind of      close        connection

between the other acts                evidence and the charged conduct that

satisfies      the     relevance        factor          of   Queen.      But,      Bell     does   not

support the use of 404(b} evidence in this case.

      Here, the charged conduct is attempted sex trafficking of a

minor      (Count      One}       and        receipt          and    possession           of     child

pornography       (Counts       Two      through         Four}.       Although        the      charged

offense and the other acts evidence both involve minors,                                           the

similarity ends there.                  The operative conduct involved                         (sexual

assault       versus       possession         of        pornography        or       attempted      sex

trafficking)         is     not      similar.            And,       absent      a     showing       of

similarity,       the predicate of the relevance factor of Queen is

missing.




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        Next,    the   Court    turns    to    the       second facet        of    the Queen

test,     the necessity prong.           "The act must be necessary in the

sense that it is probative of an essential claim or an element

of the offense." Queen, 132 F.3d at 997. Necessity is judged "in

light of other evidence available to the government." Id. at 998

(citation omitted} .          Indeed,     "as the quantum of other non-Rule

404(b}     evidence      available       to        prove      an    issue    unrelated       to

character       increases,      the     need       for     the     Rule   404(b}     evidence

decreases." United States v. Lighty, 616 F.3d 321, 354 (4th Cir.

2010} .

        It is true that the statutes underlying the charges in the

Superseding       Indictment     all     require a            showing     that    Haas   acted

knowingly.       See    18     U.S.C.     §        1591 (a}        (punishing      '' [w] hoever

knowingly.             [takes certain actions]                . . . knowing . . . that

the person [trafficked] has not attained the age of 18 years and

will be caused to engage in a commercial sex act"}; 18 U.S.C.                                 §


2252A(a} (2) (A}       (criminalizing          "knowing[]           recei[pt]"      of   child

pornography}; 18 U.S.C.           §    2252A(a} (5) (B}            (penalizing any person

who "knowingly possesses .                . any other material that contains

an image of child pornography"}. The other acts evidence showing

that Haas sexually abused E.J. may be slightly probative of the

knowledge element.           However,    the Government has other                    (and far

stronger}       evidence tending to show Haas's knowledge,                          including

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recorded calls between the Confidential Witness                                        ("CW")       and Haas

and     evidence          seized         from    Haas        (which          includes         his     laptop

computer) .        ECF No.         81.    On this record,                  the "need for the Rule

404 (b) evidence            [is]    decrease [d] , " Lighty,                 616 F. 3d at 354, and

significantly so.

        The Government              also argues            (ECF No.          135)      that     the other

acts evidence is necessary to                          show Haas's intent as                     to Count

One.    It cites United States v.                       Sebolt for the proposition that

other acts          evidence        in this           case   is necessary to corroborate

CW's testimony about Defendant's intent. 554 Fed. Appx. 200, 206

(4th    Cir.        2014)     (unpublished).               ECF       No.    135.     In    Sebolt,         the

Government          argues,        other acts          evidence            was   necessary          to    show

intent    because           otherwise,          the    Government            would have         to       "rely

largely on the word of . . . a convicted felon and the person at

whom Sebolt was pointing the finger."                                Id. The Government argues

that here, it will have to rely on the testimony of CW, who has

worked        as    a     prostitute            and    has       a     felony       and       misdemeanor

conviction on her record. ECF No. 135. Because CW's testimony is

likely to be "vigorously attacked,"                              the other acts evidence is

said     to    be       necessary        to     prove      Count       One.      ECF      No.   135.       The

Government stretches the comparison with Sebolt too far.                                                 Here,

unlike Sebolt,            the Government does have other evidence tending

to     show    intent.        Other       than        CW's   testimony,             it    has       recorded

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telephone     calls   between      Haas       and   CW,      as    well    as    physical

evidence,    including child pornography,              found in Haas's home and

vehicle.    The Government       is     not    in a    position where            its    case

rises or falls solely on CW's testimony. Because there is other

evidence available to the Government to show both knowledge and

intent, the necessity prong is not satisfied. 6

      The third Queen factor is whether the other acts evidence

is   reliable.     132 F.3d at     997.       As with the          Fed.   R.    Evid.       414

evidence analyzed under the Kelly framework,                       the Government has

provided evidence of        E. J. ' s   DNA on the vibrator found in the

Defendant's      possession.     ECF No.       135.    There       appears      to     be    no

objection     to    the   reliability          of     this        evidence      from        the

Defendant.    ECF No.     137.   Accordingly,         the reliability prong is

likely met.

      Finally,     the Court must consider the balance required by

Rule 403 as part of the Queen analysis.                      132 F. 3d at 997.              The

analysis here is substantially the same as applied under Rule

414. At bottom, the issue is whether admission of the other acts

6
  The Government asserts that it would also use the other acts
evidence to show Haas's motive to commit the charged offenses.
However, cases cited by the Government for this purpose tend to
allow other acts evidence of molestation as a form of propensity
evidence. See United States v. Roux,715 F.3d 1019, 1025 (7th
Cir. 2013) (allowing evidence of past molestation to "establish a
defendant's sexual interest in children"); United States v.
Sebolt,460 F.3d 910, 917 (7th Cir. 2006) (same). Because the
Government concedes that it will not use the other acts evidence
for propensity purposes, its motive rationale fails.
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evidence creates "a genuine risk that the emotions of the jury

will be excited to irrational behavior,                             and that this risk is

disproportionate          to     the        probative          value        of      the        offered

evidence." United States v.                 Ham,    998 F.3d 1247,               1252      (4th Cir.

1993}    (citation omitted}. The answer is yes. As explained above,

the probative value of the evidence, at best, is minimal because

the     similarity      between       the    charged          conduct        and     the       conduct

involved in the other acts is lacking.                              As for prejudice,               Haas

has not been convicted of the other acts evidence, that evidence

is "more sensational or disturbing than the                                [charged]       crimes,"

Boyd, 53 F.3d at 637, and to prove the other acts the Government

would require the          \\inflammatory testimony"                      of E. J.      Kelly,        510

F. 3d at 438.     Given the egregious nature of the other acts and

the need of the defense to defuse it, there is a high risk that

there     would    be     a      \\mini-trial           into        the    veracity            of     the

accusations       of     child       molestation."            United        States        v.        Fenn,

l:12cr510,    2016 WL 3690142,               at    *3     (E.D.      Va.    July,       12,     2016}.

Moreover, proof of the other acts - which are egregious - would

come from the testimony of an 11-year-old girl and has a strong

likelihood of          inflaming      the emotions             of    the    jury and causing

them to conclude that Haas is an evil person who deserves to be

convicted and put             way.    Instead,          the    jury must           assess       Haas's




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liability    for    the    charged    conduct       without     considering       the

terrible conduct in the uncharged, unconvicted other acts.

     The    Government has      failed      to demonstrate       that    the Queen

factors    have been met,      particularly relevance,           necessity,       and

the Rule 4 03 balancing test. Accordingly,               because the test has

not been met, and because the evidence is highly prejudicial to

Haas and is of limited probative value,                 the motion to admit it

under Rule 404(b} was denied.


                                 CONCLUSION

     For    the    foregoing   reasons,     the     UNITED    STATES'    NOTICE    OF

INTENT AND MOTION TO INTRODUCE OTHER ACTS                 EVIDENCE      PURSUANT TO

FED. R. EVID. 414 AND 404(b}         (ECF No.     81}   was denied.

      It is so ORDERED.


                                              /s/
                          Robert E. Payne
                          Senior United States District Judge


Richmond, Virginia
Date: September 13, 2018




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